           Case 1:13-cr-00430-AWI-BAM Document 53 Filed 02/11/15 Page 1 of 2


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 MICHAEL FRYE
   MIA GIACOMAZZI
 3 Assistant United States Attorney
   2500 Tulare Street, Suite 4401
 4 Fresno, CA 93721
   Telephone: (559) 497-4000
 5 Facsimile: (559) 497-4099

 6
   Attorneys for Plaintiff
 7 United States of America

 8
 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          CASE NO. 1:13-CR-00430-AWI-BAM
12
                                  Plaintiff,            STIPULATION AND ORDER TO SET BRIEFING
13                                                      SCHEDULE
                            v.
14
     MICHAEL ANTHONY ANDRADE AND                        Date:                  April 27, 2015
15   JAVIER SOLIS,                                      Time:                  10:00 a.m.
                                                        Courtroom:             2 (AWI)
16                               Defendants.
17

18
                                               JOINT REQUEST
19
            Plaintiff United States of America, by and through its counsel of record, Assistant United States
20
     Attorneys Michael Frye and Mia A. Giacomazzi, defendant Michael Anthony Andrade, by and through
21
     his counsel, Mark A. Broughton, and defendant Javier Solis, by and through his attorney Richard
22
     Beshwate, make the following joint request to set a briefing schedule:
23
            At the January 26, 2015, trial confirmation hearing, the Court directed the parties to meet and
24
     confer and agree upon a briefing schedule in the event further motions would be filed. On February 6,
25
     2015, defendant Solis filed a Motion in Limine to Suppress Evidence (Document 50) and set a hearing
26
     of April 27, 2015. The motion was joined by Defendant Andrade (Document 51).
27
            ///
28
            ///

      STIPULATION AND ORDER TO SET                       1
      BRIEFING SCHEDULE
           Case 1:13-cr-00430-AWI-BAM Document 53 Filed 02/11/15 Page 2 of 2


 1          The parties, having met and conferred on the subject of a briefing schedule, agree that the

 2 government’s opposition shall be due April 6, 2015, and the parties’ reply briefs, if any, shall be due

 3 April 20, 2015.

 4          .

 5

 6
     Dated: February 9, 2015                                 BENJAMIN B. WAGNER
 7                                                           United States Attorney
 8
                                                             /s/ MIA GIACOMAZZI
 9                                                           MIA GIACOMAZZI
                                                             Assistant United States Attorney
10

11

12
     Dated: February 9, 2015                                 /s/ Mark Broughton
13                                                           MARK A. BROUGHTON
14                                                           Counsel for Defendant
                                                             MICHAEL ANTHONY
15                                                           ANDRADE

16
     Dated: February 9, 2015                                 /s/ Richard Beshwate
17                                                           RICHARD BESHWATE
18                                                           Counsel for Defendant
                                                             JAVIER SOLIS
19

20                                                   ORDER

21          For the reasons set forth above, this Court orders that government’s opposition to Defendant

22 Solis’ Motion in Limine to Suppress Evidence shall be filed by April 6, 2015, and any reply by

23 Defendant Solis or Andrade shall be filed April 20, 2015.

24
     IT IS SO ORDERED.
25
     Dated: February 11, 2015
26                                              SENIOR DISTRICT JUDGE
27

28

      STIPULATION AND ORDER TO SET                       2
      BRIEFING SCHEDULE
